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UNITED STATES DISTRICT CoURT

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MAY 3 1 2005 5
SOUTHERN DISTRICT OF TEXAS AAF

 

 

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UNITED sTATEs oF AME \
v. [X €\ CRIMINAL CoMPLAINT

| .
Juan David ORTIZ 'Q\ "' Case Number: /_- 05"/q/y / g v d/
. 0
San Antonio, Texas 6 ,

\& v\

l

See Attachment A w
(Name and Address of Defendant)

 

 

q“\t
I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief On or about May 29, 2005 In Webb County, in
the Southem District(:;fe) Texas Defendant(s) did,

 

 

(Track Statutorjy Language of Oj"ense)

Knowingly, willfully and unlawfully import from a place outside the United States, to wit; the Republic of Mexico to a
place in the United States, to wit; Laredo, Texas, a controlled substance listed under Schedule l, Title II, of the Controlled
Substance Act, to wit; approximately 44 kilograms, gross weight, of marijuana. Furthermore, the defendant(s) did
knowingly and unlawfully possessed With intent to distribute the above listed marijuana,

 

 

in violation of Title 21 United States Code, Section(s) 952; 84l(a)(l)
Special Agent, U.S. lmmigration and
l further state that I am a(n) Customs Enforcement and that this complaint is based on the
Of`f`ir'm| Tlth

following facts:
SEE ATTACHMENT A

Continued on the attached sheet and made a part of this complaint X Yes F No

    

Signature of Complamant

Mauro Lopez
Prmted Name of Complamant

Swom to before me and signed in my presence,

May 31, 2005 at Laredo, Texas

Date City and State

Adriana Arce-Flores, U. S. Magistrate Judge @LM,C
l

Name and Title of Judicial Officer Signature of J udicial Off<lj

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Attachment “A”

I, Mauro Lopez, a Special Agent of the United States Immigration and Customs
Enforcement, have knowledge of the following facts:

l.

On May 29, 2005 , Juan David ORTIZ entered the United States driving a
1994 Chevrolet Pick-up truck bearing Texas license plates 01XKP2.

A U.S. Customs and Border Protection Officer referred the vehicle for a
secondary inspection.

A total of 43 packages containing a green leafy substance were discovered
inside the gas tank of the vehicle. The green leafy substance field-tested
positive for the properties of marijuana The total gross weight was
approximately forty-four (44) kilograms

ORTIZ was advised of the Miranda Warnings and agreed to answer
questions

ORTIZ stated that he had knowledge of the marijuana and was to receive
$2,000 upon delivery of the vehicle.

